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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                           FOR THE NINTH CIRCUIT
                                                                    DEC 23 2019
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




 KAYLA WILLIS; et al.,                         No. 18-35053

               Plaintiffs - Appellants,
                                               D.C. No. 2:17-cv-00077-RSM
   v.                                          U.S. District Court for Western
                                               Washington, Seattle
 CITY OF SEATTLE; et al.,
                                               MANDATE
               Defendants - Appellees.


        The judgment of this Court, entered November 29, 2019, takes effect this

date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Rebecca Lopez
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
